      Case 2:13-cv-05861-JLS-AJW
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                                 Document 38 Filed 10/17/16 ~,
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20                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
21                                      WESTERN DIVISION
22
     UNITED STATES OF AMERICA ex                   No. CV 13-5861 GHK(AJWx)
23   rel.[UNDER SEAL],
                                               [P                       ORDER[UNDER SEAL]
24              Plaintiffjs],
                                                   rLODGED UNDER SEAL PURSUANT
25                     v.                          TO FALSE CLAIMS ACT,31 U.S.C.§
                                                   3730(b)(2)]
26 [iTNDER SEAL],
27                                             [FILED CONCURRENTLY HEREWITH:
            Defendant[s].                      EX PARTE APPLICATION FOR
28                                              UNDER EAL];MEMORANDUM OF
                                                DINTS AND AUTHORITIES]
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                      WESTERN DIVISION
20
   UNITED STATES OF AMERICA; the                   No. CV 13-5861 GHK(AJWx)
21 STATES of CALIFORNIA,
   DELAWARE,FLORIDA, GEORGIA,                      f     SEDI ORDER PARTIALLY
22 HAWAII,ILLINOIS,INDIANA,
   LOUISIANA, MICHIGAN,
23 MINNESOTA,MONTANA,NEVADA,                       rLODGED UNDER SEAL PURSUANT
   NEW HAMPSHIRE,NEW JERSEY,                       TO FALSE CLAIMS ACT,31 U.S.C.§
24 NEW MEXICO,NEW YORK,NORTH                       3730(b)(2)]
   CAROLINA, OKLAHOMA,RHODE
25 ISLAND,TENNESSEE,TEXAS,and
   WASHINGTON; COMONWEALTHS
26 of MASSACHUSETTS and VIRGINIA,
   and the DISTRICT OF COLUMBIA ex
27 rel. MARIA GUZMAN,
28
     Case 2:13-cv-05861-JLS-AJW Document 38 Filed 10/17/16 Page 3 of 5 Page ID #:598




 1                 Plaintiff,
 2                        v.
 3    INSYS THERAPEUTICS,INC.;
      MICHAEL BABICH, an individual•
 4    ALEC BURLAKOFF,an individual; and
      DOES 1 through 15,
 5
                   Defendants.
 6
 7
 8
 9           Upon consideration of the United States of America's ("United States") Ex Parte
10    Application for Order Partially Lifting Seal, and for good cause shown,
11           IT IS HEREBY ORDERED that Assistant United States Attorneys in the Office of
12    the United States Attorney for the District of Massachusetts who are conducting a
13    criminal investigation related to this uq i tam action may, at their discretion, disclose the
14    existence ofthis qui tam action, the identity of the relator, the contents of any complaints
15    or written disclosure statements filed or submitted in this action, the relator's potential
16    financial interest in this action, and any other issues deemed necessary to disclose to
17    members of any federal grand jury empaneled in the District of Massachusetts
18    investigating possible criminal conduct related to this ~cui tam action.
19          IT IS FURTHER ORDERED that the complaint and all other filings in this action
20    shall remain under seal, except insofar as that seal has been partially lifted by this Court.
21          IT IS SO ORDERED.
22
23                                                              "`r
                                                              (/v
      Dated:      10 ~ l?~ ~ ~p
24                                                     UNITED STATES DI           CT JUDGE
25
26
27
28
                                                   3
     Case 2:13-cv-05861-JLS-AJW Document 38 Filed 10/17/16 Page 4 of 5 Page ID #:599




 1          DECLARATION RE LACK OF NECESSITY FOR PROOF OF SERVICE
 2          I, John E. Lee, declare:
 3          1.    I am the Assistant United States Attorney who has been assigned
 4    responsibility for handling the above-captioned action. I am a member of the Bar of the
 5    State of California, and I have been duly admitted to appear before this Court. The
 6    following is based on my personal knowledge.
 7          2.    I have examined Federal Rule of Civil Procedure ("Rule") 5(a), which
 8 ~ provides as follows:
 9          (a) Service: When Required.
10               (1)In General. Unless these rules provide otherwise, each of the following
11                papers must be served on every party:
12                     (A)an order stating that service is required;
13                     (B)a pleading filed after the original complaint, unless the court
14                      orders otherwise under Rule 5(c) because there are numerous
15                      defendants;
16                      (C)a discovery paper required to be served on a party, unless the
17                      court orders otherwise;
18                     (D)a written motion, except one that may be heard ex parte; and
19                     (E)a written notice, appearance, demand, or offer ofjudgment, or
20                      any similar paper.
21               (2)If a Party Fails to Appear. No service is required on a party who is in
22                default for failing to appear. But a pleading that asserts a new claim for
23                relief against such a party must be served on that party under Rule 4.
24               (3) Seizing Property. If an action is begun by seizing property and no
25                person is or need be named as a defendant, any service required before the
26               filing of an appearance, answer, or claim must be made on the person who
27                had custody or possession of the property when it was seized.
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                                                  D
       Case 2:13-cv-05861-JLS-AJW Document 38 Filed 10/17/16 Page 5 of 5 Page ID #:600




  1           3.     The list of documents set forth in Rule 5(a)(1) does not include the
  2     document to which this Declaration is attached. The said document also is not a
  3     pleading that asserts "a new claim for relief' against any "party who is in default for
  4     failing to appear." (Rule 5(a)(2).) Nor was the above-captioned action "begun by
  5     seizing property." (Rule 5(a)(3).) Therefore, I believe that Rule 5(a) does not require
 6      the document to which this Declaration is attached to be served upon any party that has
  7     appeared in the above-captioned action.
  8           I declare under penalty of perjury that the foregoing is true and correct.
 9            Executed on October 1 ~I`, 2016, at Los Angeles, California.
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